Case 2021CV003328 Document 3 Filed 06-04-2021 Page 1 of 16

STATE OF WISCONSIN: | CIRCUIT COURT: MILWAUKEE COUNTY

 

RYAN M. CLANCY

 

2543 S. Howell, Ave.

Milwaukee, WI 53207 Case No.:
Plaintiff, SUMMONS

VS.

CITY OF MILWAUKEE
c/o Office of the City Clerk
200 E Wells Street Rm 205

FILED

06-04-2021

John Barrett

Clerk of Circuit Court
2021CV003328

Honorable David
Swanson-11

Branch 11

Case Code: Personal Injury — Other - 30107

SLH Services
Milwaukee, WI 53202

if , Shah eu
MILWAUKEE COUNTY sever
c/o George L. Christenson

Milwaukee County Clerk

 

 

Date 7-/- 24 Time (ZS Pen
901 N Ninth St., Room 10S
Milwaukee, WI 53233 =
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JOHN DOE MILWAUKEE POLICE OFFICERS = =
A fictitious name for unknown defendants . &
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mam
JOHN DOE MILWAUKEE COUNTY SHERIFF’S DEPUTIES i am
A fictitious name for unknown defendants 0 os
30
Defendants. SS s
2
# By.
SUMMONS
THE STATE OF WISCONSIN

TO FACH PERSON NAMED ABOVE AS A DEFENDANT:

You are hereby notified that the plaintiff named above has filed a lawsuit or other legal

action.

action against you. The Complaint, which is attached, states the nature and basis of the legal

Within forty-five (45) days of receiving this Summons, you must respond with a written

answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 1of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 2 of 16

court may reject or disregard an answer that does not follow the requirements of the statutes.
The answer must be sent or delivered to the court, whose address is Milwaukee County
Courthouse, 901 N. Ninth Street, Milwaukee, WI 53233, and to Martin Law Office, S.C.,
plaintiffs attorneys, whose address is 7280 S. 13" St., Ste. 102, Oak Creek, WI 53154. You may
have an attorney help or represent you.

If you do not provide a proper answer within forty-five (45) days, the court may grant
judgment against you for the award of money or other legal action requested in the Complaint,
and you may lose your right to object to anything that is or may be incorrect in the Complaint. A
Judgment may be enforced as provided by law. A judgment awarding money may become a lien
against any real estate you own now or in the future and may also be enforced by garnishment or

seizure of property.

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 2 of 16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 3 of 16

June 4, 2021 MARTIN LAW OFFICE, S.C.
Attorney for Plaintiffs

Electronically Signed by Drew J. DeVinnev

 

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AHMAD & ASSOCIATES, L.L.C.
Attorney for Plaintiff

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Case 2:21-cv-00881-BHL Filed 07/28/21 Page 3of16 Document 1-2
Case 2021CV003328

STATE OF WISCONSIN:

Document 3 Filed 06-04-2021 Page 4 of 16
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John Barrett
Clerk of Circuit Court

 

RYAN M. CLANCY
2543 S. Howell, Ave.
Milwaukee, WI 53207

Plaintiff,
vs.

CITY OF MILWAUKEE
c/o Office of the City Clerk
200 E Wells Street Rm 205
Milwaukee, WI 53202

MILWAUKEE COUNTY
c/o George L. Christenson
Milwaukee County Clerk
901 N Ninth St., Room 105
Milwaukee, WI] 53233

 

 

CIRCUIT COURT: MILWAUKEE COUNTY 2021CV003328
Honorable David
Swanson-11
Branch 11
Case No.:
COMPLAINT

Case Code: Personal Injury — Other - 30107

JOHN DOE MILWAUKEE POLICE OFFICERS
A fictitious name for unknown defendants

JOHN DOE MILWAUKEE COUNTY SHERIFF’S DEPUTIES
A fictitious name for unknown defendants

Defendants.

 

COMPLAINT

 

NOW COMES the above-named plaintiff, Ryan M. Clancy, by his attorneys, Drew

DeVinney of Martin Law Office, S.C. & E. Edgar Lin of Ahmad & Associates, LLC., and as and

for his claims for relief against the above-named defendants, alleges and shows to the Court as

follows:

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 4of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 5 of 16

NATURE OF THE CASE

 

1. This is a civil action, pursuant to the laws of the State of Wisconsin and 42 U.S.C.
§§ 1983 and 1988, for redress of the violation, under color of law, of Ryan M. Clancy’s rights
secured by the Fourteenth and Fourth Amendments to the United States Constitution; that the
allegations herein arise from acts committed, and injuries and damages incurred, in the State of
Wisconsin, County of Milwaukee; that all parties to this action are residents of the State of
Wisconsin, County of Milwaukee.

PARTIES

2. The plaintiff, Ryan M. Clancy, is an adult citizen and resident of the State of
Wisconsin, residing at 2543 S. Howell Ave., Milwaukee WI 53217. At all material times, Ryan
Clancy was an elected Milwaukee County Supervisor for the 4'" District. Supervisor Clancy
brings this lawsuit in his individual capacity as a citizen of Milwaukee County and the City of
Milwaukce.

3. The Defendant, City of Milwaukee, is a municipal corporation, organized and
existing undcr the laws of the State of Wisconsin, whose principal offices are located at 200 East
Wells Street, City and County of Milwaukee, State of Wisconsin, 53202. The Milwaukee Police
Department (“MPD”) is an agency of the City of Milwaukee. The City of Milwaukce is
responsible for declaring and managing emergencies under Wis. Stat. §$ 323.14 and 323.15. The
City of Milwaukee is responsible for creating and implementing MPD’s policies and practices.
The City of Milwaukee is responsible for the hiring, training, supervision, and discipline of
Milwaukee Police Officers. The City of Milwaukee has a legal obligation under Wis. Stat. §

895.46 to indemnify each of the John Doe Police Officers involved in this matter and to salisfy

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 5of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 6 of 16

any judgment entered against them if it is determined that the unidentified defendant police
officers were acting within the scope of their employment at all times material hereto.

4. Milwaukee County is a municipal corporation organized under the laws of the
State of Wisconsin with offices at 901 North 9" Street, Room 105, Milwaukee, WI 53233.
Milwaukee County Sheriff's Office (“MCSO”) is an agency of Milwaukee County. Milwaukee
County is responsible for creating and implementing MCSO’s policies and practices. Milwaukee
County is responsible for the hiring, training, supervision, and discipline of sheriff’s deputies
employed with MCSO, Milwaukee County has a legal obligation under Wis. Stat. sec 895.46 to
indemnify each of the John Doe Sheriff's Deputies involved in this matter and to satisfy any
Judgment against them if it is determined that the unidentified sheriffs deputies were acting
within the scope of their employment at all times material hereto.

5. John Doe Police Officers is a fictitious name for unidentified police officers
involved in the unconstitutional arrest of the plaintiff on May 31, 2020. Each John Doe Police
Officer was acting within the scope of their employment with the City of Milwaukee and under
color of state law. The plaintiff has attempted, through open records requests, to learn the
identity of the involved officers. To date, the plaintiff's requests for information regarding this
incident and the actors involved have been denied by the City of Milwaukee.

6. John Doe Sheriff's Deputies is a fictitious name for unidentified sheriff's deputies
involved in the unconstitutional arrest of the plaintiff on May 31, 2020. Each John Doe Sheriff's
Deputy was acting within the scope of their employment with Milwaukee County and under
color of state law. The plaintiff has attempted, through open records requests, to learn the
identity of the involved deputies. To date, the plaintiffs requests for information regarding this

incident and the actors involved have becn denied by Milwaukee County.

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 6of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 7 of 16

GENERAL ALLEGATIONS

7. In May 2020, citizens in Milwaukee took to the street to protest for black lives
and against police brutality after George Floyd was murdered in Minneapolis, Minnesota.

8. Upon information and belief, on or about May 30, 2020, unknown officers of the
Milwaukee Police Department and/or the Milwaukee Sheriff's Office, requested City of Mayor
Tom Barrett to declare an emergency curfew.

9. The purpose of requesting a curfew was to chill free speech and intimidate
citizens protesting in the wake of George Floyd’s murder. The curfew order provided a pretext to
arrest lawfully assembled citizens.

10. Relying on information provided by the defendants, the City of Milwaukee,
through Mayor Barrett enacted a State Emergency Curfew by proclamation on May 30, 2020.

11. | The May 30, 2020 proclamation is produced on the following page:

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 7 of 16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 8 of 16

 

Tom’ Barrett
Mayor, City of Milwaukee

PROCLAMATION BY THE MAYOR

Whereas, on May 29%, 2020, multiple protests and demonstrations in the City of Milwaukee occurred
regarding recent police officer involved deaths in Minneapolis and Milynukee;

Whereas, the peaceful assembly of persons exercising their First Amendment right to protests ended at
approximately 10:00 p.m. After the conclusion of the peaceful protests, other individuals began to act in a
manner that disrupted the safety and good order of the City of Milwaukee;

Whereas, after approximately 10:00 p.m. and the conclusion of the protests, a polive squad was damaged by
these unlawful and violent actions of these separate individuals and a number of people began driving motar
vehicles on sidewalks and into oncoming traffic lanes, and subsequently coordinated vehicular travel to
various locations throughout Milwaukee to break windows and loot various retail establishments:

Whereas, just after midnight until approximately 3:00 a.m. on Muy 30th, 2020, these individuals began to
throw items at law caforcement officers, causing injuries thereto. and continued travelling deoughout the
City of Milwaukee engaged in the following activities: multiple instances of shots foed, multiple instunces of
mass theft of private property. defacement and vandalisin of private property, vandalism of public property,
and the shooting of an on duty Milwaukee Police Department offiver, as well as other acts that endangered
the health, safety, and welfare of the citizens of Mitwaukee.

Whereas, it is expedient for the health, safety, welfare, and good order of the City of Milwoukee that a
curfew be imposed limiting pedestrian and vehicular travel in order w stein the coordinated looting and
property damage to private and public property in the City of Milwaukee; now, therefare,

i, Tom Barrett, Mayor of the City of Milwaukee, hereby declare that:

Pursuant to the authority granted me by Wisconsin Statute § 323.14(4)(b), and Milwaukee Code of
Ordinance § 6-07-3 I hereby proclaim and declare a state of emergency in the City of Milwaukee and order
an emergency curfew in the entire City of Milwaukee for all persons from 9:00 p.m. May 30°, 2020, until
07:00 a.m. on May 31" , 2020. All persons shall cease vebicular and pedestrian travel on the public way,
streets, sidewalks and highways and renum w their homes, places of work or other convenient place.
Goverment, social services, and credentialed press acting in their official capacity are exempt from this
order.

Dated at Milwaukee, Wisconsin, this 20th day of May 2020.

‘Pier dome

Tom Berrett
Mayor

(414) 286~2200 » fax (414) 286-3191. mayor@milwaukee.guv

8

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 8 of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 9 of 16

12. Pursuant to the express language of the May 30, 2020 proclamation, the plaintiff,
Ryan Clancy, was exempt from the curfew as an elected member of government.

13. The defendants knew or reasonably should have known that the plaintiff was an
elected member of government at the time of the incidents alleged herein.

14. The May 30, 2020, proclamation violated due process and was invalid under local
ordinance and state law. In enacting the proclamation, Mayor Barrett cited to the emergency
powers under Milwaukee Ordinance 6-07-03 and Wis. Stat. § 323.14. The authority to order a
curfew under the Emergency Powers ordinance and statute is conferred to the common council,
unless “because of the emergency conditions, the common council is unable to mect with
promptness.” The common council did not declare an emergency on or about May 30, 2020. The
nightly protests and demonstrations cited by Mayor Barrett as the “emergency conditions”
falsely justifying the curfew did not prevent the common council from promptly meeting prior to
the May 30, 2020 proclamation. At the time of the proclamation, the common council regularly
met and had the ability to meet via teleconference and could have done so in order to declare an
emergency. At no point did the common council ratify, repeal, or amend the May 30, 2020
proclamation.

15. The defendants knew or reasonably should have known that the curfew
proclamation was invalid and/or unconstitutional at the time of the incidents alleged herein.

16. On May 31, 2020, Supervisor Clancy was observing citizen protestors as they
marched through the City of Milwaukee, Village of Shorewood, Village of Whitefish Bay and
City of Glendale. The protestors were peaceful throughout Supervisor Clancy’s attendance

17. Upon information and belief, as the march was winding down, John Doe Police

Officers and John Doe Sheriff's Deputies purposcfully directed the peaceful protestors from the

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 9of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 10 of 16

Village of Shorewood, where there was no curfew, into the City of Milwaukee where they could
arrest protestors for violation of the 9:00 pm curfew, pursuant to Mayor Barrett’s proclamation.

18. As the protestors milled near the border of Shorewood, large numbers of police
officers and sheriff's deputies converged in riot gear and in armored vehicles in order to block
passage to the Village of Shorewood and to intimidate the peaceful protestors.

19. Supervisor Clancy continued to observe the demonstrations and filmed the
interactions between the protestors and law enforcement.

22. As Supervisor Clancy filmed. an unidentified officer charged at him and tackled
him to the concrete sidewalk. Supervisor Clancy was then restrained with zip-tie handcuff, which
caused physical injury to his wrists.

26. _— After tackling Supervisor Clancy, unidentified law enforcement officers picked
Supervisor Clancy off the ground.

27. Supervisor Clancy was placed in a van along with citizens who were arrested for
violation of Mayor Barrett’s curfew proclamation. Some of the arrestees in the van were not
wearing masks.

28. — At the time of the subject incident, the Centers for Disease Control and Prevention
had recommended that adults wear masks at all times and that anyone possibly exposed to
Covid-19 quarantine for 14-days.

28. = Supervisor Clancy was then transported to a bus where he and other arrestees
were driven around from location to location. Eventually Supervisor Clancy was detained at a
Milwaukee police station until sometime around 3:00 am.

29. During Supervisor Clancy’s detainment following his initial arrest, multiple

unidentified officers did not wear masks. Due to the CDC guidance at the time and the number of

10

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 10 o0f16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 11 of 16

unmasked individuals in close proximity to Supervisor Clancy, he requested PPE (Personal
Protective Equipment) but was denied.

30. Following these incidents, Supervisor Clancy, pursuant to CDC guidance at the
lime, was forced to quarantine from his family for fourteen days.

31. While Supervisor Clancy was detained, and against his wishes, an unidentificd
law enforcement officer removed Supervisor Clancy's cellular phone from his pocket and placed
it in front of Supervisor Clancy’s face to unlock the device. The unidentified law enforcement
officer then invaded Supervisor Clancy's privacy by looking through the content of Supervisor
Clancy’s personal cell phone.

32. At all times, Supervisor Clancy identified and held himself out as an elected
member of government.

33. Atall times, Supervisor Clancy acted peacefully and did not resist any commands
of any law enforcement officer.

34. The unidentified law enforcement officers involved in Supervisor Clancy’s arrest
lacked probable cause or reasonable suspicion to believe that Supervisor Clancy had violated any
ordinance or law, including violation of Mayor Barrett’s curfew proclamation for which he was
exempted.

First Cause of Action: Unlawful Seizure

 

35. The plaintiff alleges and reincorporates by reference the allegation of the
preceding paragraphs.

36. This claim is brought pursuant to 42 U.S.C. § 1983 against all defendants for
violation of Supervisor Clancy’s rights under the Fourth Amendment to the United States

Constitution not to be subjected to unreasonable seizure.

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Case 2:21-cv-00881-BHL Filed 07/28/21 Page 11of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 12 of 16

37. The defendants caused Supervisor Clancy to be arrested and/or detained without
probable cause or reasonable suspicion in violation of Supervisor Clancy’s rights under the
Fourth and Fourteenth Amendments to the United States Constitution.

38. The unidentified John Doe defendants acted knowingly, intentionally, and with
malice.

39. The unidentified John Doe defendants were deliberately indifferent to the
constitutional rights of Supervisor Clancy.

40. Asa direct and proximate result of the defendants’ acts, as alleged, Ryan Clancy
suffered injuries, including the violation of his constitutional rights loss of liberty, emotional
distress, loss of enjoyment of life and dignity, and other compensable injuries and damages, all to
the damage of Supervisor Clancy in an amount to be determined at a trial of this matter.

Second Cause of Action: Excessive Force

 

41. Plaintiff realleges and incorporates herein by reference the allegations of the
preceding paragraphs.

42. The uses of force employed by unidentified law enforcement officers during the
course of arresting Supervisor Clancy without probable cause, including, but not limited to,
tackling Supervisor Clancy and overly tightening the zip-tie restraints, were not objectively
reasonable under the Fourth Amendment to the United States Constitution given the objective
lack of probable cause to believe Supervisor Clancy had committed any offense.

43. The conduct alleged constituted unreasonable and excessive force and violated
Supervisor Clancy’s right to be free from unreasonable seizures under the Fourth and Fourteenth

Amendments to the United States Constitution.

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 12o0f16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 13 of 16

44. The unidentified law enforcement officers use of unreasonable and excessive use
of force was a cause of the injuries sustained by Supervisor Clancy, including the violation of his
constitutional rights, loss of liberty, past and future pain, suffering, emotional distress, mental
anguish, past medical expenses, disability, loss of enjoyment of life and dignity, and other
compensable injuries and damages, all to the damage of Supervisor Clancy in an amount to be
determined at a trial of this matter.

45. The unidentified law enforcement officers acted with malice or in reckless
disregard of Murdoch federally protected rights.

Third Claim for Relief: Failure to Intervene

 

46. Plaintiff realleges and incorporates herein by reference the allegations of the
preceding paragraphs.

47. This claim is brought pursuant to 42 U.S.C. § 1983 against all defendants Heard
for failure to intervene to prevent the violation of Supervisor Clancy’s rights under the Fourth,
and Fourteenth Amendments to the United States Constitution as more fully alleged above.

48. In the manner described above, during the constitutional violations described. one
or more of the individual defendants named in this claim, and other as-yet unknown individuals,
stood by without intervening to prevent the misconduct, despite the opportunity to do so.

49. The defendants acted knowingly, intentionally and with malice: each individual
defendant was deliberately indifferent to Supervisor Clancy’s constitutional rights.

50. The City of Milwaukee and Milwaukee County are liable for the misconduct of
their own officers because the policies, customs and practices of the City of Milwaukee and

Milwaukee County caused the constitutional violations alleged above.

13

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 13 0f16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 14 of 16

69. That, as a direct and proximate result of the defendants’ misconduct as described,

Plaintiff suffered injuries as more fully alleged above.

Fourth Claim for Relief: Afonell Claim against City of Milwaukee

(Policy, Practice, and/or Custom; Failure to Train and Supervise)

51. Plaintiff realleges and incorporates herein by reference the allegations of the
preceding paragraphs.

52. This count is brought against City of Milwaukee, pursuant to 42 U.S.C. § 1983,
insofar as the actions of the unidentified law enforcement officers, including the arrest and use of
and use of force against Supervisor Clancy, as alleged, were taken pursuant to the City of
Milwaukee’s invalid and/or unconstitutional curfew proclamation of May 30, 2020.

53. As alleged, the May 30, 2020, emergency proclamation was invalidly declared the
City of Milwaukee and violated due process.

54. The City of Milwaukee failed to adequately train the individual unidentified law
enforcement officers relative to the limits of the emergency prosecution, including the exemption
for government officials.

55. In enacting and enforcing the curfew, the City of Milwaukee was utterly
indifferent to the constitutional rights of its citizens, including Supervisor Clancy.

56. | The invalid and unconstitutional enactment of the May 30, 2020 emergency
proclamation, the unlawful enforcement of the proclamation, and the failure to adequately train
and supervise the individual unidentified law enforcement officers was a direct and proximate
cause of Supervisor Clancy’s injuries, including the violation of his constitutional rights, loss of
liberty, past and future pain, suffering, emotional distress, mental anguish, past medical

expenses, disability, loss of enjoyment of life and dignity, and other compensable injuries and

14

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 14 o0f16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2024 Page 15 of 16

damages, all to the damage of Supervisor Clancy in an amount to be determined at a trial of this

matter.

WHEREFORE, the plaintiff demands judgment against defendants as follows:

A.

H.

for an order declaring that the May 30, 2020 emergency proclamation was invalid
and/or unconstitutional;

for an order declaring that the defendants violated the plaintiffs. Supervisor Ryan
Clancy’s, constitutional rights by using excessive force against him and by
arresting him without probable cause;

for an order declaring that the defendant, City of Milwaukee, is responsible under
Wis. Stat. § 895.46 to indemnify each of the John Doe Police Officers and to
satisfy any judgment entered against them;

for an order declaring that the defendant, Milwaukee County, is responsible under
Wis. Stat. § 895.46 to indemnify each of the John Doe Sheriff's Deputies and to
satisfy any judgment entered against them;

for compensatory damages against all defendants, jointly and severally, in an
amount to be determined at trial;

for punitive damages against defendants in an amount to be proved at trial;

for plaintiff's attomeys’ fees, pursuant to 42 U.S.C. § 1988;

for costs;

for such further and additional relief as this Court may deem equitable and just.

PLEASE TAKE NOTICE THAT THE PLAINTIFF DEMANDS A TRIAL IN THE

IN THE ABOVE-ENTITLED ACTION.

15

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 15 of16 Document 1-2
Case 2021CV003328 Document 3 Filed 06-04-2021 Page 16 of 16

June 4, 2021 MARTIN LAW OFFICE, S.C.
Attorney for Plaintiffs

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16

Case 2:21-cv-00881-BHL Filed 07/28/21 Page 16 of 16 Document 1-2

 
